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               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



1789 Foundation, Inc. d/b/a
Citizen AG, et al.,

                      Plaintiffs,
                                           No. 3:24-cv-1865
               v.                          Hon. Robert D. Mariani

Secretary Al Schmidt, et al.,

                      Defendants.



     DEFENDANT SCHMIDTS’ BRIEF IN OPPOSITION TO

   PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING

       ORDER AND PRELIMINARY INJUNCTIVE RELIEF


     In accordance with the Order of this Court dated October 31, 2024,

Defendant Secretary Al Schmidt submits this brief in opposition to

Plaintiffs’ Emergency Ex Parte Motion for Temporary Restraining Order

and Preliminary Injunction.

  On October 29, 2024, one week before the 2024 General Election

Plaintiff brought this action seeking two separate, but ostensibly related

injunctions:        1) one “enjoin[ing] the Department [of State] from
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continuing to refuse to make available the records Plaintiffs requested”

in a public records request filed pursuant to state law (see, 65 P.S. §

67.101, et seq.); and 2) one ordering the Department to “prevent” certain

“inactive” voters from casting a ballot in the upcoming 2024 election.

TRO Motion, ECF No. 3 at 1. Plaintiffs make this request based upon

state public records law (“Right to Know Law,” 65 P.S. § 67.101, et seq.),

and National Voter Registration Act (“NVRA,” 52 U.S.C. § 20501 et seq.).

Plaintiff’s motion must fail for a variety of reasons, not least because

their complaint is facially deficient and because the claims they raise do

not vest this court with jurisdiction.

  To obtain preliminary injunctive relief, a movant must first satisfy two

“gateway factors”: he or she must show a “significantly better than

negligible but not necessarily more likely than not” chance that the case

“can win on the merits,” and “that [the movant] is more likely than not to

suffer irreparable harm in the absence of preliminary relief.” Reilly v.

City of Harrisburg, 858 F.3d 173, 179 (3d Cir. 2017). Once a movant

satisfies both gateway factors, the district court then must consider the

possibility of harm to other interested persons from the grant or denial

of the injunction and the public interest, and it should determine “in its
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sound discretion if all four factors, taken together, balance in favor of

granting the requested preliminary relief.” Id. Plaintiffs do not satisfy

any of these criteria.

  I.      Plaintiffs are unable to succeed on the merits.

  “A plaintiff seeking a preliminary injunction must establish that he is

likely to succeed on the merits, that he is likely to suffer irreparable harm

in the absence of preliminary relief, that the balance of equities tips in

his favor, and that an injunction is in the public interest.” Benner v. Wolf,

No. 20-775, Doc. 15 (M.D. Pa. May 21, 2020 (J. Jones) (citing Apple Inc.

v. Samsung Electronics Co., 695 F.3d 1370, 1373-74 (Fed. Cir. 2012)

(quoting Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7 (2008))).

Here, Plaintiffs are not likely to succeed on the merits for several reasons,

including that this Court does not have jurisdiction over plaintiffs’

claims, and plaintiffs lack standing to bring those claims.

       a. This Court does not have jurisdiction over Plaintiffs’ claims.

  Plaintiffs initially argue that this court should intervene to compel

Defendant Schmidt, as the Secretary of the Commonwealth, to comply

with state law open records laws when responding to Plaintiff Citizen
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AG’s request for NVRA information. (Complaint, ECF No. 1, ¶¶65-68,

86). But this Court possesses no jurisdiction to compel a state to comport

its actions with state law, and such claims are barred by the Eleventh

Amendment to the United States Constitution. See, Leer Elec., Inc. v.

Pennsylvania, Dep’t of Lab. & Indus., 597 F. Supp. 2d 470, 477 (M.D. Pa.

2009) (“[I]f the Court were to instruct the Pennsylvania officials on how

to conform their conduct to Pennsylvania law, it would engage in a

practice that ‘conflicts directly with the principles of federalism that

underlie the Eleventh Amendment.’” (quoting Pennhurst State School &

Hosp. v. Halderman, 465 U.S. 89, 106 (1984)).1

   Plaintiffs’ claims under the NVRA similarly fail for lack of jurisdiction.

The NVRA requires that “written notice” of a purported violation be

provided “to the chief election official of the State involved,” and



1 Even as to their state law claim, plaintiffs are wrong on the law.Plaintiffs contend
that Defendant Schmidt, by indicating (through the Department of State), that the
Department’s public records response would be provided by November 12 (rather
than November 11), “denied” such request. Plaintiffs neglect to consider, though, that
November 11 is Veterans’ Day, a national holiday, and that a response dated
November 12 is fully compliant with state law. See, 1 Pa.C.S. § 1908 (“Whenever the
last day of any such period shall fall on Saturday or Sunday, or on any day made a
legal holiday by the laws of this Commonwealth or of the United States, such day
shall be omitted from the computation”). As such, Plaintiffs’ access to records has
neither been denied nor impaired and the Department intends to respond to their
request consistent with the time frame provided under the Pennsylvania Right to
Know law.
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authorizes the commencement of litigation “[i]f the violation is not

corrected within 90 days” of such notice. 52 U.S.C. § 20510(b)(1), (2). As

this Court has explained, “[n]otice is a precondition to filing suit under

the NVRA.” Public Interest Legal Foundation v. Boockvar, 370 F. Supp.

3d 449, 456-57 (M.D. Pa. 2019) (dismissing subsection 20507(i) claim for

failure to provide notice of purported violation to Pennsylvania chief

election official prior to filing suit). Failure to provide the proper notice

under the statute deprives the Court of jurisdiction to adjudicate those

claims. See Bellitto v. Snipes, 268 F. Supp.3d 1328, 1332 (S.D. Fla. 2017)

(“[t]his Court’s jurisdiction, therefore, stems directly from § 20510(b), and

Plaintiffs’ standing to bring suit depends upon compliance with the

statute.”).

   Notice is sufficient under Section 20510 “when it (1) sets forth the

reasons that a defendant purportedly failed to comply with the NVRA,

and (2) clearly communicates that a person is asserting a violation of the

NVRA and intends to commence litigation if the violation is not timely

addressed.” Public Interest Legal Foundation, 370 F. Supp.3d at 456-57.

Put otherwise, “the pre-suit notice requirement [] is violation specific.”

Bellitto, 268 F. Supp.3d at 1334 (dismissing subsection 20507(i) claim
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because plaintiff only sent defendant a single correspondence requesting

documents under the NVRA and never notified defendant of purported

NVRA violation after the request went unfulfilled); Georgia State

Conference of NAACP v. Kemp, 841 F. Supp.2d 1320, 1335 (N.D. Ga.

2012) (dismissing plaintiff from NVRA suit because he failed to comply

with notice requirement).

   The NVRA also allows plaintiffs to bring suit to remedy violations that

occur within thirty days of an election. 52 U.S.C. § 50210(b)(3). Citing

this provision, Plaintiffs reason that they are thus exempt from the notice

provision because the Department indicated that it would respond to

their state law records request within the time permitted by state law.2

(Complaint ¶ 51). But compliance with a request for records cannot

plausibly form the basis for violation of NVRA access provisions.3

Accordingly, they have not shown a likelihood of success as to Count I.




2 As previously discussed, Plaintiffs’ have miscalculated the state law timeframe for

a response, and their state law remedy is beyond the jurisdiction of this court. In
any event, though, plaintiffs have not been denied access to information, and have
thus not pled an NVRA violation.
3 Notably, only Plaintiff Citizen AG filed the records request at issue. (Complaint

Ex.3.) Plaintiff Golembiewski makes no assertion that he provided notice to
Defendants under 52 U.S.C. 50210(b).
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  Further, Plaintiffs do not, and cannot make any contention that any

violations have occurred within thirty days prior to the upcoming

November 5 election. Instead, Plaintiffs freely admit that their concerns

are longstanding. TRO Brief, ECF No. 4 at 13 (“For nearly two years,

Defendants have flouted their obligations under federal law and offered

no reason as to why these inactive-and as of November 9, 2022, ineligible-

voters remain listed as inactive.”).    At most, Plaintiffs cite publicly

available statistics from 2020 and 2022 in support of their claims, and

notably fail to make any assertion that could plausibly establish any

violation, let alone one occurring within thirty days before this election.

(Complaint ¶¶ 93-97).

  Further, even if Plaintiffs had plausibly pled a violation relating to

records access (which they have not), they may not “bootstrap” that

alleged violation to the complaints that they proffer about 2020 and 2022

voter data. Instead, it is well-established that each purported NVRA

violation requires separate notice under section 50210. See, e.g., Bellitto,

268 F.Supp.3d at 334. Plaintiffs do not even contend that they provided

notice as to their allegations regarding 2020 and 2022 voter data. As
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such, this court lacks jurisdiction over their claims, and their motion for

injunctive relief should be denied.

     b. Plaintiffs lack standing to bring this action.

  Even if Plaintiffs had provided notice, though, they still lack standing.

The U.S. Constitution confines a federal court’s jurisdiction to “Cases”

and “Controversies.” U.S. Const. art. III, § 2. This limit is enforced by

requiring that a plaintiff establish standing, which in turn requires them

to demonstrate that they suffered (1) an injury in fact, (2) caused by the

conduct complained of, and that is (3) capable of judicial remedy. Yaw v.

Delaware River Basin Comm’n, 49 F.4th 302, 310 (3d Cir. 2022).

  For injury in fact, a plaintiff cannot rely upon a general interest “in

the proper application of the Constitution and laws.” Lujan v. Defenders

of Wildlife, 504 U.S. 555, 573 (1992). Injuries must be personal to the

plaintiff as well as “concrete” and “particularized.” Raines v. Byrd, 521

U.S. 811, 818-19 (1997); see also Yaw, 49 F.4th at 311, 314-15. Here,

accepting their non-conclusory allegations, Plaintiffs have not alleged

any concrete, particularized injury specific to them.
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  The Complaint makes abundantly clear that the claimed injury here

is that Plaintiffs wish to ensure that Defendants adhere to the NVRA.

(Complaint ¶ 104). This is no more than the type of allegations of

generalized injury that have repeatedly been deemed insufficient for

Article III standing purposes.

  Further, Plaintiffs’ interest in “protection against vote dilution” is

insufficient to confer standing. (Complaint ¶ 105). A generalized

grievance that is “undifferentiated and common to all members of the

public” is insufficient to establish standing. Lujan, 504 U.S. at 575.

“[W]hen the asserted harm is a ‘generalized grievance’ shared in

substantially equal measure by all or a large class of citizens, that harm

alone normally does not warrant exercise of jurisdiction.” Warth v.

Seldin, 422 U.S. 490, 499 (1975) (citation omitted); see also Bognet v.

Secretary Commonwealth of Pennsylvania, 980 F.3d 336, 349 (3d Cir.),

vacated as moot by Bognet v. Degraffenreid, 141 S. Ct. 2508 (2021).

  This Court rejected similar a similar “vote dilution” theory of standing

in Bolus v. Boockvar where a plaintiff sought to enjoin the use of ballot

drop boxes, alleging that the use of these drop boxes meant that “his vote

could be diluted due to voter fraud.” No. 3:20-cv-01882, 2020 WL
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6880960, at *3 (M.D. Pa. Oct. 27, 2020), report and recommendation

adopted, 2020 WL 6882623 (M.D. Pa. Nov. 23, 2020). Initially, the Court

held that this claim did not meet the basic requirements for standing,

because it merely raised a generalized grievance that “could conceivably

be raised by any voter in the Commonwealth.” Id. at *4.

  The Court then observed that the alleged injury to voting was

“speculative and hypothetical” because “[w]holly lacking” from the

complaint was “any allegation that collecting ballots in locations other

than the office of the County Election Board results in fraudulent

ballots.” Id. Similarly, in Huertas v. City of Camden, a claim that a city

zoning plan would dilute the Hispanic vote was “purely speculative”

because it alleged that the plan “if approved and implemented, might

displace some indeterminate number of Hispanics from the city, and thus

might have the effect of diluting the Hispanic vote.” 245 Fed. Appx. 168,

172 (3d Cir. 2007) (emphasis in original).

  Here, Plaintiffs similarly claim that Mr. Golembiewski “will be

irreparably harmed as a Pennsylvania voter” because his “fundamental

right to vote will be undermined.” Compl. ¶ 104. But Plaintiffs’ claims

ultimately rely upon the mere supposition that individuals who aren’t
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authorized to vote in Pennsylvania will be permitted to do so despite all

protections in state and federal law that prevents such error.          And,

Plaintiffs’ requested relief does not pretend to prevent such errors. See,

Complaint at P.23,n.8.

  Such averments are plainly insufficient to confer standing. Plaintiffs’

own averments establish the Complaint’s deficiency – they concede that

Mr. Golembiewski’s “concern” is equally shared with all Pennsylvania

voters. Id.    Such complaints that affect all voters equally and are

generalized grievances, are incapable of conferring standing. See Bognet,

980 F.3d at 352 (dismissing vote “dilution” claims for lack of standing);

see also Wood v. Raffensperger, 981 F.3d 1307, 1314-15 (11th Cir. 2020)

(dismissing claim based on interest that “only lawful ballots are counted”

as generalized grievance insufficient for standing).

  Such interests that that “only lawful ballots are counted” or that

“government be administered according to the law” are generalized

interests that do not permit standing. Wood, 981 F.3d at 1314. And

precedent “uniformly” holds that even an allegation that executive action

violated a duly enacted statute “is not an injury for standing purposes.”

Russell, 491 F.3d at 134. Ultimately, there is nothing in the Complaint
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(nor could there be) that identifies how any Plaintiff is affected by the

conduct challenged in this case in a way that is any different from any

other member of the public, and Plaintiffs thus lack standing.

  Nor are Plaintiffs’ claims redressable in this action. The processes that

Plaintiffs take issue with are administered by counties and the relief they

seek is ultimately from counties. Under Pennsylvania law, it is county

registration commissions that conduct voter list maintenance. 25 P.S. §

1901. Further, it is county boards of elections that tabulate votes. 25

P.S. § 3154. While they describe relief from the Secretary—including

compelling the Defendants to undertake list maintenance actions—these

actions are undertaken by Counties, who are not parties to this action.

See, e.g., Zimmerman v. Schmidt, 63 MAP 2024, 2024 WL 4284202, at *1

(Pa. Sept. 25, 2024) (finding Secretary is not an indispensable party in

case challenging County ballot activity).

  Finally, Plaintiff Citizen AG asserts that it has organizational or

associational standing because it expended resources “to investigate,

address, research, and counteract” Defendant’s list maintenance

processes. Compl. ¶ 82. This is not a basis for organizational standing.

See Pa. Prison Soc. v. Cortes, 508 F.3d 156, 162-63 (3d Cir. 2007)
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(describing the two possible bases for organizational standing: direct

harm to the organization’s interest and associational standing based on

its members).

  Indeed, the organization’s decision to analyze state voter registration

records does not give it standing to challenge those records. Pennsylvania

v. New Jersey, 426 U.S. 660, 664 (1976). Rather, it presents both a

generalized grievance, see Berg v. Obama, 586 F.3d 234, 239-40, and a

type of self-inflicted harm that does not create standing, see Clapper v.

Amnesty Int'l USA, 568 U.S. 398, 418 (2013) (“If the law were otherwise,

an enterprising plaintiff would be able to secure a lower standard for

Article III standing simply by making an expenditure based on a

nonparanoid fear.”). Here, the fact that Citizen AG has determined to

expend resources cannot of itself create standing.

  Neither does the fact that its members are “lawfully registered to vote”

in Pennsylvania and “concerned” about “integrity of elections” or “fear

that their legitimate votes will be nullified or diluted” confer standing.

Compl. ¶¶ 54, 55. These, too, are the “generalized grievances” of Bognet

and Bolus, and the fact that they are shared by an organization, rather

than an individual, does nothing to confer standing. See Pennsylvania
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Prison Soc. v. Cortes, 508 F.3d 156, 163 (3d Cir. 2007) (association may

assert claims on behalf of its members, but only where the record shows

that the organization's individual members themselves have standing to

bring those claims.” (emphasis added) (citing Hunt v. Washington State

Apple Advertising Comm'n, 432 U.S. 333, 343 (1977);10 NAACP v.

Button, 371 U.S. 415, 428 (1963); Public Interest Research Group v.

Powell Duffryn Terminals, 913 F.2d 64, 70 (3d Cir.1990)).

     c. Plaintiffs ultimately fail to state a claim.

     Ultimately, Plaintiffs’ entire complaint must fail because it is based

upon a misunderstanding of the Election Assistance Commission EAVs

data they cite, and that data cannot plausibly support a claim under the

NVRA. Specifically, Plaintiffs assert that 753,942 registered voters were

sent confirmation notices prior to the 2020 General Election. Compl.

(ECF 1) ¶ 37-42, Mem. Iso TRO and PI (ECF 4) Page 17. But the

numbers that Plaintiffs cite do not reflect “individuals” or “voters.”

Rather, as clearly identified in the report that Plaintiffs cite “[t]he

number reported in A8a includes initial notices sent to voters who appear

to have moved based upon information received pursuant to the National

Change of Address program.” 2022 EAVS at 187 (emphasis added).
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     Pennsylvania counties often send more than one notice to the same

voter: an initial confirmation notice based on information from the U.S.

Postal Service National Change of Address list and, if there is no

response or the response comes back as undeliverable, an additional

address verification notice. 25 Pa.C.S. § 1901; 4 Pa. Code § 183.6. Thus,

the 753,942 figure includes multiple notices sent to the same voters.

     Plaintiffs compound this error by presuming that Pennsylvania’s

list maintenance activities, as expressed in the EAVS report, are static.

They are not. Instead, voter statuses are constantly changing, and under

the NVRA, must constantly change. For example, an inactive voter could

be reactivated by voting or otherwise confirming their status with the

county election board. An inactive voter could re-register after having

been cancelled for failure to vote in two consecutive federal elections

pursuant to 25 U.S.C. § 20507(d). See also 25 Pa.C.S. § 1901(d). An

inactive voter could die. The number of inactive voters will never be a

static figure- it changes every day, and the EAVS report referenced by

Plaintiffs is a mere “snapshot” in time.
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         Reliance on such a report cannot plausibly establish that

Pennsylvania has, is or will violate the NVRA.4 Essentially, Plaintiffs’

whole theory of there being some specified group of 277,768 inactive

voters that should have been cancelled is based completely on a flawed

foundation, and cannot plausibly support a claim for relief.

   II.     There Exists no Emergent or Imminent Harm Supporting
           an Injunction.
   While Plaintiffs come to this Court at the 11th hour, seeking relief in

advance of an election that is mere days away, any claimed emergency is

of Plaintiffs’ own making and therefore not a proper justification for

injunctive relief.

   Plaintiff Citizen AG alleges that it reviewed data from 2020 and 2022

in formulating its complaint. Compl. ¶¶ 70, 92-99. This data is reported

to Congress in June of each odd-numbered year (i.e., June, 2023). Compl.

¶ 14. Nevertheless, Citizen AG did not seek records from Defendants in

or around June, 2023. Instead, Citizen AG waited until 32 days before



4 Further, while plaintiffs seek to compel “future compliance” with the NVRA, they

have offered no averment that might demonstrate that such compliance will not
occur. Rather, pursuant to both the NVRA and Pennsylvania law, inactive voters are
already required to provide affirmation of their residence prior to voting. 52 U.S.C.
§ 20507(e); 25 Pa.C.S. § 1902. And inactive voters who fail to vote in two consecutive
(federal) general elections are cancelled. 52 U.S.C. § 20507(d); 25 Pa.C.S. § 1901(d).
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the upcoming election to seek records that might shed light on the data

that it reviewed. Compl. ¶ 48. Then, Plaintiffs waited until October 29

before filing this action. Because any urgency, then, is of Plaintiffs’ own

making, they are not entitled to emergency or preliminary relief. See

Republican Party of Pa. v. Cortes, 218 F. Supp. 3d 396, 405 (E.D. Pa.

2016) (explaining: "There was no need for this judicial fire drill and

Plaintiffs offer no reasonable explanation or justification for the harried

process they created."). Having strategically delayed the filing of this

case, Plaintiffs’ cry of "emergency" should be recognized for what it is: a

desperate attempt to sow distrust in advance of the November 2024

election.

      In fact, Plaintiffs themselves seem to recognize that there is no true

“emergency” here, stating that “Mr. Golembiewski is not seeking the

removal of any registrant prior to the 2024 general election and instead,

merely seeks to . . . ensure any voter who remains registered complies

with the provisions of 52 U.S.C. § 20507(e) . . ..” Compl. P.23, n.8. Having

so pled, it is unclear what “emergency” may remain for this Court to

address. Indeed, not a single one of Plaintiff’s allegations indicates that

Pennsylvania does not adhere to the requirements of section 20507(e). As
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such, on this point, Plaintiffs appear to seek a mere advisory opinion.

Such an opinion, particularly when there is no indication that this

provision is not otherwise followed, serves no purpose, let alone an

“urgent” one.   As such, Plaintiffs cannot show that the requested relief

is designed to prevent any harm, and their Motion should thus be denied.

     Similarly, Plaintiffs’ motion should be denied because “[n]o matter

the label —“laches, the Purcell principle, or common sense”— courts “will

not disrupt imminent elections absent a powerful reason for doing so.”

Reschenthaler v. Schmidt, No. 1:24-CV-1671 (issued Oct. 29, 2024) (citing

Crookston v. Johnson, 841 F.3d 396, 398 (6th Cir. 2016)).            See also

Republican Nat 'I Comm. v. Democratic Nat 'I Comm., __U.S.__, 140 S.

Ct. 1205, 1207 (2020) (per curiam) ("This Court has repeatedly

emphasized that lower federal courts should ordinarily not alter the

election rules on the eve of an election."); Purcell v. Gonzalez, 549 U.S. 1,

4-5 (2006) (per curiam) ("Court orders affecting elections, especially

conflicting orders, can themselves result in voter confusion and

consequent incentive to remain away from the polls. As an election draws

closer, that risk will increase."); Thompson, 959 F.3d at 813 ("[W]e must
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heed the Supreme Court's warning that federal courts are not supposed

to change state election rules as elections approach.").

     Unquestionably, altering voter lists and hamstringing lawful state

election administration activities on the eve of an election visits a greater

harm on the public and other parties than any harm that might be

plausibly asserted by Plaintiffs. As such, the Purcell principle and the

demands of due process counsel against such arbitrary action so close to

the election. For any or all of these reasons, Plaintiffs have not satisfied,

and cannot satisfy, the high burden necessary to justify the extraordinary

injunctive relief they seek.

     For all of these reasons, Plaintiffs’ Emergency Ex Parte Motion for

Temporary Restraining Order and Preliminary Injunction should

therefore be denied.
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October 31, 2024                     Respectfully submitted,

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                        CERTIFICATE OF SERVICE
      A true and correct copy of the foregoing was served on all counsel of record

on October 31, 2024, by this Court’s CM/ECF system.



                               /s/ Thomas P. Howell
                               THOMAS P. HOWELL
